                   Case 4:24-cv-06991-YGR                     Document 17           Filed 11/22/24       Page 1 of 3

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                        NorthernDistrict
                                                     __________ Districtof
                                                                         of__________
                                                                           California


   JORDAN SANDERS and MICHAEL DONALYA,                                 )
    individually and on behalf of all others similarly                 )
                        situated,                                      )
                                                                       )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                               Civil Action No. 4:24-cv-06991-YGR
                                                                       )
 FLUMGIO TECHNOLOGY INC., MI-ONE BRANDS                                )
    d/b/a MI-POD, THESY, LLC, BLUEPOINT                                )
    DISTRIBUTION, INC., and BLACK WOLF                                 )
              WHOLESALE, INC.,                                         )
                           Defendant(s)                                )

                                                     SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) See Attachment A.




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: L. Timothy Fisher
                                           BURSOR & FISHER, P.A.
                                           1990 N. California Blvd., 9th Floor
                                           Walnut Creek, CA 94596



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                   CLERK OF COURT


Date:
                                                                                             Signature of Clerk or Deputy Clerk
       Case 4:24-cv-06991-YGR    Document 17   Filed 11/22/24   Page 2 of 3




                                ATTACHMENT A:

MI-ONE BRANDS d/b/a MI-POD
4908 E. McDowell Road
Phoenix, AZ 85008

THESY, LLC
370 Turnbull Canyon Rd.
City of Industry, CA 91745

BLUEPOINT DISTRIBUTION, INC.
121 S. Tejon St., Ste. 201-095
Colorado Springs, CO 80903

BLACK WOLF WHOLESALE, INC.
2050 S. Bascom Ave., Unit 5
Campbell, CA 92882
                    Case 4:24-cv-06991-YGR                    Document 17         Filed 11/22/24           Page 3 of 3

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 4:24-cv-06991-YGR

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
